         Case 3:23-cv-01999-WHO Document 10 Filed 04/25/23 Page 1 of 3




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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                                   Case Number:                        iWHO

Jessica Blalock. Lvdia Blumherg. Lisa              DECLARATION OF[name]
Grav-Garcia and Yesica Prado
                                                   r:.hn^A|hpv- TaoMp.
                Plaintiff(s),

       vs.
                                                  IN SUPPORT OF Ex Parte T gippQf^ry
                                                   Restraining Order
Oakland Police Denartment. Captain
Burch. LaTonda Simmons. Citv of
Oakland.



                Defendant(s).




       I,[name]_
declare as follows
                      ChnStopb^^r lon-ffi'.
[In thefirst paragraph, explain who you are and how you are connected to the pat ty or events
relevant to the lawsuit. Ifyou are the Plaintiffor Defendant, say so here. Ifyou a.•e a witness.
say how you are involved.]

        1.     I am       U)'rtnPS5 do 'th'fe Q33g. I acn                               m. odiuist.
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DECLARATION OF            CbtiSiftphgy ToTj-ffe-                           IN SUP]mi OF


CASE NO.                                     :PAGE \ OF ?> \JDC TEMPLATE.lev.2015]
                 Case 3:23-cv-01999-WHO Document 10 Filed 04/25/23 Page 2 of 3




                2.      1 have personal knowledge of all facts stated in this declaration, md if called to
       testify, I could and would testify competently thereto.
       [Write each fact in a separate paragraph. You may only write aboutfacts or o:currences that
       you have personal knowledge ofor that you personally witnessed. Explain how vou know each
       fact. Ifyou have documents that support your argument, you may attach them to ti!is declaration,
        Using a separate paragraph and separate exhibit letterfor each document. Ey.plain what the
        document is and how you know what it is. Example: "3. Attached as Exhibit A is a copy ofa
        letter thatIreceivedfrom [name]on[date][by mail].']

               3.   fhis is a pjHir.                                  Qn:\ -tN'i/ n C V^Ana
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        CASE NO.                                      PAGE J2^ OF 3_ [-^^C TEMPLATE.fev.20i5]
         Case 3:23-cv-01999-WHO Document 10 Filed 04/25/23 Page 3 of 3




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       I declare under penalty of perjury under the laws of the United States that he foregoing is
true and correct and that this declaration was executed on [date] APRIL 25.2023
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                                     Signature:                         /,
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DECLARATION OF                                                               INSUPl'ORTOF


CASE NO.                                    _; PAGE _2l of _3. [-®C TEMPLATE. lev.2015]
